         Case 3:22-cv-05755-DGE Document 1-1 Filed 10/06/22 Page 1 of 8



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                                                                                       Scot t G. Weber, Clerk
     2                                                                                    Clark County

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     7
                       IN THE SUPERIOR COURT OF THE STATE OF WAS
     8                                                          HINGTON

     9
                                IN AND FOR THE COUNTY OF CLARK
          VLAD GULA,                                     )
 10
                                                         )
                         Plaintiff,                      ) Case No.: 22-2- 0204 4-06
 11
                                                         )
                 vs.                                     ) SUMMONS
 12
                                                         )
         BOMBARDIER RECREATIONAL                         )
13       PRODUCTS, INC.; BRP INC.; and SK                )
         NORTHWEST, INC.,                                )
14
                                                         )
15       -- -- --
                Defendants.
                  -- -- -- -- -                          )
                TO DEFENDANTS BOMBARDIER RECREA
16                                                                     TIONAL PRODUCTS, INC.;
         BRP INC.; and SK NORTHWEST, INC.: A lawsu
17                                                              it has been started again st you in the
         above-entitled court by VLA D GULA, Plaintiff. Plain
18                                                               tifr s claim s are stated in the written
         Complaint, a copy of whic h is serve d upon you with
19                                                            this Summ ons.
                In order to defen d again st this lawsuit, you must respo
20                                                                        nd to the Com plain t by stating
         your defen se in writing, and by serving a copy upon
21                                                              the person signing this Summ ons within
         twenty (20). days after the service ofthis Summons if serve
22                                                                    d within the State of Washington,
         or withi n sixty (60) days if serve d outside the State
23                                                                  of Wash ingto n, exclu ding the day of
         service, or a defau lt judgm ent may be entered again
24
                                                                st you without notice. A default judgm ent
         is one where Plain tiff is entitled to what they ask for
25                                                                 because you have not responded. If you

26

         SUMMONS - Page I                                                                    l"Ht LAW OFFICE Of
                                                                                          GREGORY E. PRICE, P.S.
                                                                                           510 E. Mctoue}1lin Blvd.
                                                                                         Vancouver, Washinslon, 98663
                                                                                                 ()<iO) 121-5179




                                               EXHIBIT 1
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      l    serve a notice of appearance on the undersigned attome y, you are entitJed
                                                                                      to notice before a
     2     defaul t judgment may be entered.

     3              You may deman d that the Plainti ff files this lawsui t ,vith the Court.
                                                                                             If you do so, the
     4     deman d must be in writing and must be served upon the person signing
                                                                                 this Summo ns. Within
     5 fourteen (14) days after you serve the demand, the Plainti ff must file
                                                                               this lawsui t v.rith the
     6 Court or the service upon you of this Summ ons and Compl aint
                1
                                                                      will be void.
     7              If you wish to seek ·the advice of an attorney in this matter , you should do so
                                                                                                                                 promp tly
     8    so that your written respon se, if any, may be served on time.

     9            This Swnmons is issued pursuant to Rule 4 of the Superi or Court Civil
                                                                                         Rules of the
 10       State of Washington.
 11
                    Dated this   _1_:t1)ay of August, 2022.
12

13
                                                   LA w OFF1€£0F-GREGOR.YE. PRICE, p .s.
14                                                                l,.                                           I
                                                           C ~              -7               __. . . . ,. . -
15                                                                      ''¼~.               c.
                                                   ~   -
                                                     .._   ..,r

                                                   Gregory E. Pyt
                                                                                       ~--
                                                                         \ ••• - .. , . ,
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                                                                              ,
                                                                                               --- -
                                                                                             ~ -......--•-·•···-

16                                                                                     _). # 17048
                                                   510 E. McLou ghttn Blvd.
                                                               "-'\,"\•--'...
17                                                 Vanco uver, WA 98663
                                                   Of Attorney for Plainti ff VLAD GULA
18

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21

22
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          SUMMONS - Page 2                                                                                               "ftl'll: LAW OFFICE Ol'
                                                                                                                     CRF.Gom · E. PlUCE. P.S.
                                                                                                                       S 10 E. Md.oughli n 81\'d,
                                                                                                                    Vaneoi;"er, \V11:hing1or., 98663
                                                                                                                             {J60)8l8-~S1'}




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     1                                                                                  Scott G. Weber, Clerk
 2                                                                                         Clark County

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 6
 7                     IN THE SUPERlO R COURT OF THE STATE OF WASHIN GTON
 8                                    IN AND FOR THE COUNTY OF CLARK
 9       VLAD GULA,                                     )
                                                        )
10                       Plaintiff,                     )   Case No.: 22-2-0204 4-06
                                                        )
11               vs.                                    )   COMPLAINT FOR
12
                                                        )   PERSONAL INJURIES/
         BOMBARDIER RECREATIONAL                        )   PRODUCT LIABILITY
         PRODUCTS, INC.; BRP INC.; and SK               )
13       NORTHWEST, INC.,                               )
                                                        )
14                       Defendan ts.                   )
15              Plaintiff states his claim against the Defendan ts herein as follows:

16                                      I.   PARTIES - JURISDICTION
                 1.1    This lawsuit arises out of the product failure of a personal watercraft that
17

18       occurred on August 24, 2019, on the west side of Cowlitz River near the Mayfield Lake

19       Reservoir in Lewis County, Washington.

20              1.2     Plaintiff Vlad Gula (hereinaft er "Mr. Gula") was and remains a resident of
21       Clark County, Washingt on.
22
                1.3     Defendan ts BRP Inc. and Bombardier Recreatio nal Products, Inc. (hereinafter
23
         collectively referred to as "Defendants BRP Inc.") are foreign, Canadian corporations
24
         transactin g business within the State of Washingt on through the sale of personal watercrafts,
25
         recreation al boats, snowmob iles, all-terrain vehicles and motorcycl es. Defendan ts BRP Inc.,
26

          COMPLAINT FOR PERSONAL INJURIES/PRODUCT LIABILITY - Page I                          TH£ L.\W omcE OF
                                                                                           GREGORY E. PRICE. P.S.
                                                                                            SlO E. McLoui;hlin Blvd.
                                                                                          Vancouver, Wmllington, 98663
                                                                                                  (360) 128-S879




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          further transact business in Clark County, Washington through the sale
     I                                                                           of personal

     2    watercrafts, recreational boats, snowmobiles, all-terrain vehicles and motorcy
                                                                                         cles by its
     3    Designated Dealer and controlled subsidiary, Pro-Caliber Motor Sports, Inc.,
                                                                                         located at I 0703
 4       NE Fourth Plain Blvd., in Vancouver, Washington 98662.
 5               1.4     Defend ant SK Northwest, Inc. is an Oregon corporation transacting busines
                                                                                                    s
 6
         in the State of Washington.
 7
                 1.5     This Court has jurisdiction and venue over the Defendants and the subject
 8
         matter of this lawsuit pursuan t to RCW 4.12.020(3) and RCW 4.12.025(1).
 9
IO                                              II.      FACTS OF CLAIM
                 2.1     On January 18, 2018, Mr. Gula purchased a 2018 Sea-Doo GTX Limited 300
11
         personal watercraft, Identification No. YDV06864L718, (hereinafter "2018 Sea-Do
12                                                                                       o"), which
         was manufactured by Defendants BRP Inc. Mr. Gula purchased the 2018
13                                                                           Sea-Doo from
         Defendants BRP Inc.'s Designated Dealer and controlled subsidiary, Defendant
14                                                                                    SK Northwest,
         Inc.
15
                 2.2·    On August 24, 2019, Mr. Gula was operating the 2018 Sea-Doo in a normal
16
         and customary manner on the west side of Cowlitz River near the Mayfield Lake
17                                                                                     Reservoir in
         Lewis County, Washington, when a substantial portion of the 2018 Sea-Do
18                                                                                        o's port hull
         delaminated, causing the watercr aft to dive and yaw, which ejected Mr.
19                                                                                       Gula from the
         watercr a~ and injured him. At the time of the incident, the Sea-Do o had only
20                                                                                      been operated a
         total of 66 hours.
21

22
                                         III.         FAULT OF DEFENDANTS
23
                              FIRST CAUSE OF ACTION: Strict Liability - Washington
24                            Produc t Liability Act, RCW 7. 72 et seq. and RCW 62A et seq
                                              (Against Defendants BRP Inc.)
25
                3.1     Mr. Gula realleges all paragraphs set forth above as fully set forth herein.
26

          COMPLAINT FOR PERSONAL INJURIES/PRODUCT LIABILITY - Page 2                         Tut L11w Orr,a or
                                                                                          CRECORY E. PRICE, P.S.
                                                                                           310 E. Mcloughlin Blvd.
                                                                                         Vancouver, Washing1on, 98663
                                                                                                (360) 828,'879




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                  3.2     Defend ants BRP Inc., designed, fabricated and constru cted the 2018
     1                                                                                         Sea-Doo

     2    and is the manuf acturer of the 2018 Sea-Do o as defined in RCW 7.72.01
                                                                                  0(2).

     3            3.3          Mr. Gula's harm was proximately caused by the neglig ence of Defend
                                                                                                              ants
 4        BRP Inc., in manuf acturin g the 2018 Sea-Do o, which was not reason
                                                                               ably safe as designed
 5        pursua nt to RCW 7.72.0 30(I)(a ), since at the time of manuf acture,
                                                                                the likelihood that the
 6
          produc t would cause Mr. Gula's harm or similar harms to others, and
                                                                               the serious ness of those
 7
          haims, outwei ghed the burden on Defend ants BRP Inc., to design
                                                                           a produc t that would have
 8
          preven ted those harms and outwei ghed the adverse effect of an alterna
 9                                                                                tive design that was
          practical and feasible.
10

11               3.4          Mr. Gula's harm was proximately caused by the neglig ence of Defend
                                                                                                  ants
12       BRP Inc., since the 2018 Sea-Do o was not reasonably safe becaus
                                                                          e adequa te warnings or
13       instructions were not provid ed after the waterc raft was manuf actured
                                                                                 and Defend ants BRP
14       Inc. le~ed , or a reason ably pruden t manufa cturer should have
                                                                          learned , about the danger
15
         connec ted with the 2018 Sea-Do o after it was manufactured.
16
                 3.5     Mr. Gula's harm was proxim ately caused by the neglig ence ofDefe
                                                                                           ndants          BRP
17
         Inc., since the 2018 Sea-D oo was not reasonably safe becaus e it was
18                                                                               unsafe beyond that which
         would be contem plated by the ordinary consum er pursua nt to RCW
19                                                                         7.72.03 0(3).

20               3.6     Defend ant BRP Inc., is subjec t to strict liability for the harm
                                                                                           proximately
21       caused to Mr. Gula by the 2018 Sea-Doo, which was not reason
                                                                      ably safe in const1uction
22       pursua nt to RCW 7.72.0 30(2) and (3).
23
         /Ill
24
         /Ill
25
26

          COMPLAINT FOR PERSO NAL INJURIES/PRODUCT LIABILITY
                                                             - Page 3                         THE LAW OFFICE Of
                                                                                           GREGOR'\:' E. PRICE, P.S.
                                                                                            510 E. Mcloughlin Blvd.
                                                                                          Vancouver, Washington. 98663
                                                                                                  (l60) 121-5879




                                             EXHIBIT 1
                                             Page 5 of 8
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             3.7    The 2018 Sea-Doo did not confonn to the Implied Warranty of Merchantability
 I
 2   provided in RCW 62A.2-3 I 4, since it was not fit for the ordinary purpose for which such

 3   personal watercraft s are used.

 4           3.8    The 2018 Sea-Doo did not conform to the Implied Warranty of Fitness for
 5   Particular Purpose provided in RCW 62A2-3 l 5, since the 2018 Sea-Doo was not fit for the
 6
     particular purpose of a personal watercraft.
 7
             3.9    Defendan t BRP Inc., as a product manufactu rer, is subject to strict liability
 8
     because Mr. Gula' s harm was proximately caused by the fact the product did not conform to
 9
     manufactu rer's implied wa1Tanties under RCW 62A.2-314 and RCW 62A.2-31 5.
10

11                    SECOND CAUSE OF ACTION: Strict Liability -
               Wasbington Product Liability Act, RCW 7.72 et seq. and RCW 62A
12                         (Against Defendant SK Northwest, Inc.)

13          3.10    Mr. Gula realleges all paragraphs set forth above as fully set forth herein.
14          3.11    Defendan t SK Northwes t, as a Defendan ts BRP Inc.' s Designate d Dealer and
15
     controlled subsidiary of Defendan ts BRP Inc., engages in the business of selling BRP Inc.' s
16
     products, including Sea-Doo personal watercrafts, and is the product seller of the 2018 Sea-
17
     Doo purchased by Mr. Gula, as defined in RC\V 7.72.010(1).
18
            3 .12   Defendan t SK Northwes t is liable to Mr. Gula for the ham1 proximate ly caused
19
20   by the breach of an express warranty made by Defendan t SK Northwes t.

21          3.13    Defendan t SK Northwes t, as a product seller, shall have the strict liability of

22   the product manufactu rer, Defendan ts BRP Inc., if:
23
                    (a) Defendan ts BRP Inc., is not solvent or is not subject to service of process
24
                        of the State of Washingto n; or
25

26

      COMPLAIN T FOR PERSONAL INJURIES/PRODUCT LIABILITY - Page 4                        THE LAW OF'FICE or
                                                                                      GREGOR\' E. PRICE, P.S.
                                                                                       510 E. Mcloughlin Blvd.
                                                                                     Vancouver, Washin11on, 98663
                                                                                            (360) S?a-S879




                                         EXHIBIT 1
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         Case 3:22-cv-05755-DGE Document 1-1 Filed 10/06/22 Page 7 of 8




     1                   (b) Tite coi1rt determines that it is highly probable that the claimant would be

     2                       unable to enforce a judgment against BRP Inc.; or

     3                   (c) Defendant SK Northwest Inc,, is a controlled subsidiary of Defendants
     4                       BRP Inc.
     5
                                             IV. INJURIES AND DAMAG ES
 6
                  4.1    As a proximate result of the foregoing fault of Defendants: Mr. Gula suffered
 7
         bodily injuries that include, but were not limited to, a fractured left femur and shattered .left
 8
         kneecap and has suffered economic and noneconomic damages in amounts to be proven at
 9
         trial.
IO
11                                                 VI. PRAYER
i2                WHEREFORE, Plaintiff prays for judgment against the Defendants, in the amount of
13       his economic and noneconomic damages to be determined at tr.ial, for an award of
14
         prejudgment interest on all medical and out of pocket expenses proximately caused by
15
         Defendanls' negligence, together with his taxable costs and such ftu1her relief as determined
16
         by the court.
17

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         COMPLAINT FOR PERSONAL lNJURIES/PR.ODUCT LIABILITY • Page 5                          THI:: LAW OFl-'ICl~0F
                                                                                          GUE:GOR\' E. PRICE. P.$.
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                                                                                                      Scott G. Weber, Clerk
                                                                                                         Clark County




                     IN THE SUPERIOR COURT OF THE STATE Oil WASHINGTON
                                  IN AND ItOR CLARK COUNTY

VLAD GULA                                                 ) No. 22-2-02044-06
                              Plaintiff/Petitioner,       )
                                                          ) NOTlCE OF ASSIGNMENT TO JUDICIAL
v.                                                        ) DEPARTMENT AND SETTJNG SCHEDULJNG
                                                          ) CONFERENCE DATE (LR40(C))
BOMBARDIER RECREATIONAL PRO~)                                                            .
               Defendant/Respondent. ) Judge: David E. Gregerson
_ _ _ _ _ _ _ _ _ _ _ _ _ _ __,,· Department:
Notice
                                                  2
          to Plaintiff/Petitionc1·(s):

      •    Case filed, then served: Plaintiff(s)lPetitioner(s) shnll serve on all parties a copy of this Nc>ticc of
           Assignment to Judicial Department on the Dofendant(s}/Respondent(s) along with a copy of the Summons
           and Complaint.
      •    Case served, then tiled: Plaintiff'(s}IPctitioncr(s) shall serve on all parties a copy of this Notice of
           Assignment to Judicial Department within ten (iO) days of filing.
      •    Service by publication pursuant to court order: Plaintiff(s)/Petitioner(s) shall serve on all parlies a copy of
           this Notice of Assignment to Judicial Department within ten ( lO) days of the .Defendant(s)/Respondent(s)
           first response or appearance.

     Failure to appear on the date be]ow may result in dismissal of the case by the Court.

              Mandatory Scheduling Conference Date:                    12/9/2022               at 9:00 A.M.
     At the time of the mandatory hearing, the Court will adopt a Case Scheduling Order which
     will include the trial date.                   ( __ ,..---·     ')
                                                                ,,                   /

Date                                                      Petitioner or Pe~ ~icr Attomey
                                                                    510 E. }",t LOUGHLIN Bl.VO, VANCOUVER, WA 98663
                                                          Add rcss: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                                          Telephone:   360-828-5879
                                                          H-Mail:   GREG@PRICEINJURYLAW.COM

Notice of Assignment to Judicial Department




                                                      EXHIBIT 1
                                                      Page 8 of 8
